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United States Bankruptcy Court
District of Delaware

 

 

 

 

 

Name of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) (Last, First, Middle):

Milagro Holdings, LLC

All Other Names used by the Debtor in the last 8 years All Other Names used by the Joint Debtor in the last 8 years

(include married, maiden, and trade names): (include married, maiden, and trade names):

None

Last four digits of Soc. Sec. or Individual-Taxpayer ID. (ITIN)/Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if
(if more than one, state all): more than one, state all):

XX-XXXXXXX

Street Address of Debtor (No. and Street, City, and State): Street Address of Joint Debtor (No. and Street, City, and State):

1301 McKinney, Suite 500,
Houston, Texas

ZIP CODE 77010 ZIP CODE

 

County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Harris County

 

Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):

ZIP CODE ZIP CODE

 

 

Location of Principal Assets of Business Debtor (if different from street address above).
ZIP CODE

 

 

 

 

 

 

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which the
(Form of Organization) (Check one box.) Petition Is Filed (Check one box.)
(Check one box)
C1 Health Care Business Cy Chapter 7 (1 Chapter 15 Petition for
oO Individual (includes Joint Debtors) CL] Single Asset Real Estate as defined in C] Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. 11 U.S.C, § 101(51B) &X Chapter 11 Main Proceeding
XX Corporation (includes LLC and LLP) Cl] Railroad (J Chapter12  [] Chapter 15 Petition for
O Partnership [1 Stockbroker oO Chapter 13 Recognition of a Foreign
oO Other (If debtor is not one of the above L] Commodity Broker Nonmain Proceeding
entities, check this box and state type of entity [] Clearing Bank
below.) XX Other Nature of Debts
(Check one box.)
Chapter 15 Debtors Tax-Exempt Entity O Debts are primarily consumer debts, defined in 11
Country of debtor’s center of main interests: (Check box, if applicable) U.S.C. § 101(8) as “incurred by an individual
(J ‘Debtor is a tax-exempt organization under primarily for a personal, family, or household
Title 26 of the United States Code (the purpose.
Each country in which a foreign proceeding by, Internal Revenue Code) X Debts are primarily business debts.
regarding or against debtor is pending
Filing Fee (Check one box.) Chapter 11 Debtors
Check one box:
J] Full Filing Fee attached L] Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D)

KX Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D)
[] Filing Fee to be paid in installments (applicable to individuals only). Must
attach signed application for the court’s consideration certifying that the debtor Check if:
is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A. | []  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,490,925 (amount subject to adjustment on
(1 Filing Fee waiver requested (applicable to chapter 7 individuals only). Must 4/01/16 and every three years thereafter).
attach signed application for the court’s consideration. See Official Form 3B. —|_ -.------------------2-2-e eee cece eee eee eee ees
Check all applicable boxes
LC] Aplan is being filed with this petition.
L] Acceptances of the plan were solicited prepetition from one or more classes
of creditors, in accordance with 1] U.S.C. a small business debtor as
defined in 11 U.S.C. § 1126(b)

 

 

Statistical/Administrative Information THIS SPACE IS FOR
Debtor estimates that funds will be available for distribution to unsecured creditors. COURT USE ONLY
‘a Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available

for distribution to unsecured creditors.

 

Estimated Number of Creditors

 

 

 

O OC O CO O O O O O
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001- Over
5,000 10,000 25,000 50,000 100,000 100,000

Estimated Assets

OC O O O O CO
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 million to $10 million to $50 million to $100 million to $500 million to $1 billion $1 billion
Estimated Liabilities

O CO O xX CO O] CO
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than

$50,000 $100,000 $500,000 to $1 million to $10 million to $50 million to $100 million to $500 million to $1 billion $1 billion

 

 

 
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Voluntary Petition
(This page must be completed and filed in every case.)

Name of Debtor(s):
Milagro Holdings, LLC

 

All Prior Bankruptcy Cases Filed Within Last 8 Years If more than two, attach additional sheet.)

 

 

Location Case Number: Date Filed:
Where Filed: None N/A N/A
Location Case Number: Date Filed:
Where Filed: None N/A N/A

 

Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)

 

 

 

 

Name of Debtor: Case Number: Date Filed;
See Attachment 1
District: Relationship: Judge:
Exhibit A Exhibit B

(To be completed if debtor is required to file periodic reports (e.g., forms 10K and
10Q) with the Securities and Exchange Commission pursuant to Section 13 or
15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter
Ih.)

[Exhibit A is attached and made a part of this petition.

 

(To be completed if debtor is an individual
whose debts are primarily consumer debts.)

I, the attorney for the petitioner named in the foregoing petition, declare that !
have informed the petition that [he or she] may proceed under chapter 7, 11, 12,
or 13 of title 11, United States Code, and have explained the relief available
under each such chapter. | further certify that I have delivered to the debtor the
notice required by 11 U.S.C. § 342(b).

X

 

Signature of Attorney for Debtor(s) (Date)

 

Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

[] Yes, and Exhibit C is attached and made a part of this petition.

XJ No.

 

Exhibit D

(To be completed by every individual debtor. Ifa joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

[1 Exhibit D completed and signed by the debtor is attached and made a part of this petition.

If this is a joint petition:

[] Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor — Venue
: (Check any applicable box.)
><} Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately preceding the date
of this petition or for a longer part of such 180 days than in any other District.

O

There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

[1 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no principal
place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District, or the interests of the

parties will be served in regard to the relief sought in this District.

 

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

(1 Landlord has a judgment against the debtor for possession of debtor’s residence. (if box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

[1 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire monetary
default that gave rise to the judgment for possession, after the judgment for possession was entered, and

[1 Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the petition.

O

Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C, § 362(1)).

 

 
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Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case.) Milagro Holdings, LLC
Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is
true and correct.

[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11,
12 or 13 of title 11, United States Code, understand the relief available under each
such chapter, and choose to proceed under chapter 7.

[If no attorney represents me and no bankruptcy petition preparer signs the
petition} I have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

xX

 

Signature of Debtor

 

Signature of Joint Debtor

 

Telephone Number (if not represented by attomey)

 

Date

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is
true and correct, that I am the foreign representative of a debtor in a foreign
proceeding, and that I am authorized to file this petition.

(Check only one box.)
{] I request relief in accordance with chapter 15 of title 11, United States

Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
attached.

Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the order
granting recognition of the foreign main proceeding is attached.

 

(Signature of Foreign Representative)

 

(Printed Name of Foreign Representative)

 

Date

 

Signature of a

© mb ZLEG

Signature of Attomey for Debtor(s)

M. Blake Cleary (No. 3614)
YOUNG CONAWAY STARGATT & TAYLOR, LLP
Rodney Square
1000 N. King Street
Wilmington, DE 19801
(302) 571-6600

a ge oo
Rt, lS, Los

/

Date

*In a case in which § 707(b)(4\(D) applies, this signature also constitutes a
certification that the attomey has no knowledge after an inquiry that the
information in the schedules is incorrect.

 

 

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of
the debtor.

     
  

 

The debtor requests th¢ r¢lief in accordance with the chapter itle 11, United
States Code, specified
x wae

Signature of Authorized Individtal CS

By: Gary J. Mabie
Title: President / COO
ov

-

Date

 

Signature of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
have provided the debtor with a copy of this document and the notices and
information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if
rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting
a maximum fee for services chargeable by bankruptcy petition preparers, I have
given the debtor notice of the maximum amount before preparing any document

for filing for a debtor or accepting any fee from the debtor, as required in that
section. Official Form 19 is attached.

 

Printed Name and title, if any, of Bankruptcy Preparer

 

Social-Security number (If the bankruptcy petition preparer is not an
individual, state the Social-Security number of the officer, principal,
Tesponsible person or partner of the bankruptcy petition preparer.)
(Required by 11 U.S.C. § 110.)

 

Address

 

Signature

 

 

Date

Signature of bankruptcy petition preparer or officer, principal, responsible
person, or partner whose Social-Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or

assisted in preparing this document unless the bankruptcy petition preparer is not
an individual.

If more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

 
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ATTACHMENT 1 TO VOLUNTARY PETITION

Pending Bankruptcy Cases Filed by Affiliated Entities

On the date hereof, each of the related entities listed below, including the debtor in this
chapter 11 case (collectively, the “Debtors”), will file or have filed a petition in this Court for
relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532.
Contemporaneously with the filing of their voluntary petitions, the Debtors are filing a motion
requesting that the Court consolidate their chapter 11 cases for administrative purposes only.

The Debtors are the following entities (along with their federal tax identification numbers):

e Milagro Holdings, LLC (XX-XXXXXXX);

e Milagro Oil & Gas, Inc. (XX-XXXXXXX);

e Milagro Exploration, LLC (XX-XXXXXXX);

e Milagro Producing, LLC (XX-XXXXXXX);

e Milagro Mid-Continent, LLC (XX-XXXXXXX); and
e Milagro Resources, LLC (XX-XXXXXXX)

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MILAGRO OIL & GAS, INC.
MILAGRO HOLDINGS, LLC

Unanimous Written Consent of the Boards of Directors

July 15, 2015

Pursuant to Section 141(f) of the Delaware General Corporation Law and Section 18-404
of the Delaware Limited Liability Company Act, the undersigned, being all of the members of
the boards of directors (each, as applicable, the “Board” and together, the ““Boards’’) of Milagro
Oil & Gas, Inc., a Delaware corporation (the “Company”), and Milagro Holdings, LLC, a
Delaware limited liability company (the ““Parent’’), hereby approve, consent to and adopt the
following recitals, resolutions, and actions authorized therein, as the act of the Boards by written
consent (this “Consent’’), such Consent to have the same force and effect as a vote of each Board
at a duly called meeting thereof:

Proper Officers

RESOLVED, that for purposes of these resolutions, the term “Proper Officer” shall mean
(i) with respect to the Company, any one or more of the President, the Chief Restructuring
Officer, any Executive Vice President, any Vice President, the Secretary or any Assistant
Secretary of the Company, and (ii) with respect to the Parent, any one or more of the President,

any Senior Vice President, any Vice President, the Secretary or any Assistant Secretary of the
Parent.

Chapter I] Restructuring Transaction

WHEREAS, the Parent owns 100% of the issued and outstanding common stock of the
Company;

WHEREAS, the Company is the sole member of each of Milagro Exploration, LLC
(“Exploration”) and Milagro Producing, LLC (“Producing” and together with Exploration,
collectively, the “Borrowers’), each of which is a Delaware limited liability company;

WHEREAS, Producing is the sole member of Milagro Resources LLC (“Resources”) and
Milagro Mid-Continent LLC (“Mid-Continent’ and collectively with Resources and the
Company, the “Guarantors”), each of which is a Delaware limited liability company and a
guarantor of the indebtedness under the First Lien Credit Agreement (as defined below);

WHEREAS, the Borrowers and the Company previously entered into that certain Second
Amended and Restated First Lien Credit Agreement, dated as of September 4, 2014 (the “First
Lien Credit Agreement’), by and among the Borrowers, as borrowers, the Company, as
guarantor, the lenders from time to time parties thereto (the “Lenders’’), and TPG Specialty
Lending, Inc., a Delaware corporation, as administrative agent for the Lenders (in such capacity,
the “Administrative Agent’);

WHEREAS, the Company has issued an aggregate principal amount of $250,000,000 of
its 10.500% Senior Secured Second Lien Notes due 2016 (the “‘Nofes’’) pursuant to an Indenture

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dated as of May 11, 2011 (the “Indenture”), between the Company, as issuer, and Wilmington
Trust, N.A., as successor trustee, registrar and paying agent (collectively, the “Trustee”),
pursuant to the Agreement of Resignation, Appointment and Acceptance dated as of January 7,
2014, among the Company, the Trustee and Wells Fargo Bank, N.A., a national banking
association and the resigning trustee, registrar and paying agent under the Indenture;

WHEREAS, the Board has reviewed and considered the operational condition of the
Company and the Company’s business on the date hereof, including the historical performance
of the Company, the assets of the Company, the current and long-term liabilities of the
Company, the market for the Company’s products and services, the liquidity situation of the
Company, the strategic alternatives available to the Company, and the impact of the foregoing on
the Company’s businesses, creditors and other parties in interest;

WHEREAS, the Board has been advised by the senior management of the Company that
(i) the Company is unable to meet its obligations as they become due in the usual course of
business, and the Company can no longer continue its business profitably, and (ii) various
creditors of the Company have threatened to prosecute their claims against the Company;

WHEREAS, the Board has received, reviewed and considered the recommendations of
the senior management of the Company and the Company’s legal and financial and other
advisors as to the relative risks and benefits to the Company filing a petition seeking relief under
the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), and
the Board has had an opportunity to consult with the Company’s management team and the
Company’s legal, financial and other advisors and have fully considered each of the strategic
alternatives available to the Company;

WHEREAS, in the business judgement of the Board, it is in the best interests of the
Company and the Company’s creditors, employees and other parties in interest that the Company
negotiate and enter into a comprehensive restructuring support agreement (the “Restructuring
Support Agreement’), among the Company, certain beneficial owners of the Notes (the “Initial
Consenting Note Holders’), the Lenders, the Administrative Agent, the investment funds and
accounts managed by Acon Funds Management, L.L.C., as holders of the equity interests in the
Company and the Parent (such investment funds and accounts, the “Consenting Acon Parties’),
the investment funds and accounts managed by Guggenheim Corporate Funding, L.L.C., as
holders of the equity interests in the Company and the Parent (such investment funds and
accounts, the “Consenting Guggenhein Parties” and collectively with the Consenting Acon
Parties, the “Initial Equity Holders”), and White Oak Resources VI, LLC, a Delaware limited
liability company (“White Oak’), to implement a pre-arranged chapter 11 restructuring
transaction (the “Restructuring Transaction’) for the Company and the Parent;

WHEREAS, in connection with the Restructuring Support Agreement, it is proposed that
the Board approve and authorize (i) a plan of reorganization for the Company (the “Plan’), the
form of which is attached to the Restructuring Support Agreement, (ii) a disclosure statement for
the Plan (the “Disclosure Statement”), the form of which is attached to the Plan, (iii) the
solicitation of votes on the Plan and the Disclosure Statement from the holders of the claims
entitled to vote on the Plan, (iv) the distribution of the Plan and the Disclosure Statement and the
solicitation of votes thereon under chapter 11 of the Bankruptcy Code, and (v) the filing with the

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United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court’) of the
Plan and the Disclosure Statement and any and all documents related thereto or necessary or
expedient to implement the terms thereof;

WHEREAS, under the terms of the Restructuring Support Agreement, it is proposed that
concurrently with the execution of the Restructuring Support Agreement, the Company, all of the
subsidiaries of the Company (other than Mid-Continent) and White Oak enter into a Contribution
Agreement (the “Contribution Agreement’) pursuant which the Company agrees to contribute,
assign, transfer and convey to White Oak all or substantially all of the Company’s oil and gas
interests and related liabilities for a purchase price equal to $217 million (the “Purchase Price’),
as adjusted downward for the repayment of the obligations under the First Lien Credit
Agreement and as further adjusted upward or downward pursuant to the terms of the
Contribution Agreement (as so adjusted, the “Adjusted Purchase Price’);

WHEREAS, pursuant to the Contribution Agreement, at the closing of the transactions
contemplated thereby, (i) the Company shall direct White Oak to repay the Borrowers’ and the
Guarantors’ obligations under the First Lien Credit Agreement, and (ii) the balance of the
Purchase Price shall be paid by White Oak to the Company by issuing to the Company limited

liability company interests in White Oak with a capital account equal to the Adjusted Purchase
Price;

WHEREAS, concurrently with the closing of the transactions contemplated by the
Contribution Agreement, and subject to the terms and conditions thereof, White Oak and its
equity holders shall amend and restate (i) the Amended and Restated Company Agreement of
White Oak, dated effective as of February 13, 2012, pursuant to the Second Amended and
Restated Company Agreement of White Oak (the “Second Amended Company Agreement’),
and (ii) the Voting and Transfer Restriction Agreement, dated as of February 13, 2012, as
amended, pursuant to the Amended and Restated Voting and Transfer Restriction Agreement
(the “Voting and Transfer Restriction Agreement’);

WHEREAS, the Board has determined that all alternatives to the filing of a petition
seeking relief under the provisions of the Bankruptcy Code have been exhausted and are
unavailable; and

WHEREAS, the Board, upon recommendation of the officers of the Company, and upon
the recommendation of the Company’s professional advisors, has determined that it is desirable,
fair, reasonable, and in the best interest of the Company and the Company’s creditors,
stockholders and other interested parties for the Company to commence voluntary, pre-arranged
chapter 11 reorganization cases under the Bankruptcy Code for the Company in the Bankruptcy
Court to effectuate the Restructuring Transaction, including the entry by the Company into the
Contribution Agreement and the Second Amended Company Agreement, if applicable, which
will be implemented pursuant to the Plan and the Disclosure Statement.

NOW, THEREFORE, BE IT RESOLVED, that the form, terms and conditions of the
Restructuring Support Agreement, the Plan, the Disclosure Statement, the Contribution
Agreement, the Second Amended Company Agreement, the Voting and Transfer Restriction
Agreement and each other agreement, instrument, certificate, notice, consent or other document
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contemplated under, or required to be executed in connection with the Restructuring Transaction
(collectively, the “Restructuring Documents’) are hereby in all respects authorized, approved,
ratified, and confirmed, the consummation of the transactions contemplated thereby, be and they
hereby are in all respects approved, ratified, and confirmed, and the actions of the Proper
Officers in executing, delivering and performing the Restructuring Documents to which the
Company or the Parent is a party are hereby approved, ratified and confirmed;

RESOLVED FURTHER, that the execution and performance of the Restructuring
Documents to which the Company or the Parent is a party and all documents related thereto are
(i) in the best interests of the Company and the Parent and the creditors, stockholders and other
interested parties of the Company or the Parent, (ii) necessary and convenient to the conduct,
promotion or attainment of the business and affairs of the Company, the Parent and their
subsidiaries, and (iii) reasonably expected to benefit, directly or indirectly, the Company, the
Parent and their subsidiaries and the creditors, stockholders and other interested parties of the
Company and the Parent;

RESOLVED FURTHER, that the Proper Officers be, and each of them hereby is,
authorized, empowered and directed, for, in the name and on behalf of the Company and the
Parent, to execute and deliver the Restructuring Documents to which the Company or the Parent
is a party on substantially the same terms as presented to the Boards but with such other changes
or additions as the Proper Officers executing the same or counsel to the Company or the Parent
shall approve, such approval to be conclusively evidenced by such execution and delivery, and
upon such execution and delivery of all of the foregoing documents, instruments and agreements,
and the execution and delivery thereof by all other parties or signatories thereto, the Company
and the Parent, as applicable, shall be bound by the terms and conditions set forth therein;

RESOLVED FURTHER, that on final approval of the Restructuring Documents to which
the Company or the Parent is a party by the Proper Officers, the Company or the Parent, as
applicable, is authorized to perform its obligations under, and consummate the transactions
contemplated by, the Restructuring Documents;

RESOLVED FURTHER, that the Company shall be, and hereby is, authorized to: (a) file
a voluntary petition (the “Pefition”) for relief under the Bankruptcy Code in the Bankruptcy
Court, (b) authorize the filing of a Petition for any subsidiary of the Company, (c) seek authority
from the Bankruptcy Court to assume the Restructuring Support Agreement, (d) seek
confirmation from the Bankruptcy Court of the Plan, , (e) solicit votes on the Plan and the
Disclosure Statement from the holders of claims entitled to vote on the Plan and distribute the
Plan and the Disclosure Statement and the solicitation of votes thereon prior to commencing a
case under Chapter 11 of the Bankruptcy Code, and (f) perform any and all such acts as are
reasonable, advisable, expedient, convenient, proper, or necessary to effect any of the foregoing,
including, but not limited to, preparing, executing, verifying, filing, amending, supplementing or
modifying any and all documents required by, necessary, or appropriate to the filing and
administration of a case under chapter 11 of the Bankruptcy Code;

RESOLVED FURTHER, that the Proper Officers be, and each of them hereby is,
authorized, directed, and empowered on behalf of and in the name of the Company to execute
and verify the Petition as well as all other ancillary documents and cause the Petition to be filed

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with the Bankruptcy Court and make or cause to be made prior to execution thereof any
modifications to the Petition or ancillary documents as any such Proper Officer, in such officer’s
discretion, deems necessary or desirable to carry out the intent and accomplish the purposes of

these resolutions (such approval to be conclusively established by the execution thereof by such
Designated Officer);

RESOLVED FURTHER, that the Proper Officers shall be, and each of them hereby is,
authorized, directed and empowered to continue to retain, on behalf of the Company or the
Parent, Porter Hedges LLP, Young Conaway Stargatt & Taylor, LLP, Zolfo Cooper, LLC
(including, but not limited to Scott Winn as CRO), PrimeClerk, LLC and to employ such
additional professionals, including attorneys, accountants, financial advisors, investment
bankers, consultants, or brokers, in each case as in such officer’s or officers’ judgment may be
necessary in connection with the Company’s chapter 11 case and other related matters, on such
terms as such officer or officers shall approve;

RESOLVED FURTHER, that the law firms of Porter Hedges LLP, Young Conaway
Stargatt & Taylor, LLP and any additional special or local counsel selected by one or more of the
Proper Officers, shall be, and hereby are, authorized, empowered, and directed to represent the
Company, as debtor and debtor in possession, in connection with any case commenced by or
against the Company under the Bankruptcy Code;

RESOLVED FURTHER, that the Company, as debtor and debtor in possession under
chapter 11 of the Bankruptcy Code, shall be, and hereby is, authorized to borrow funds, use cash
collateral and undertake related financing transactions (collectively, “Financing Transactions’)
from such lenders and on such terms as may be approved by any one or more of the Proper
Officers, as reasonably necessary for the continuing conduct of the affairs of the Company, and
grant security interests in and liens upon all or substantially all of the Company’s assets as may
be deemed necessary by any one or more of the Proper Officers in connection with such
borrowings or the use of cash collateral;

RESOLVED FURTHER, (a) that the Proper Officers be, and each of them hereby is,
authorized, directed, and empowered in the name of and on behalf of the Company, as debtor
and debtor in possession, to take such actions and execute and deliver such agreements,
certificates, instruments, guaranties, notices, and any and all other documents as the Proper
Officers may deem necessary or appropriate to facilitate the Financing Transactions
(collectively, the “Financing Documents”), (b) that Financing Documents containing such
provisions, terms, conditions, covenants, warranties, and representations as may be deemed
necessary or appropriate by the Proper Officers are approved, and (c) that the actions of the
Proper Officers taken pursuant to this resolution, including the execution and delivery of all
agreements, certificates, instruments, guaranties, notices, and other documents, shall be
conclusive evidence of the approval thereof by such officer and by the Company;

RESOLVED FURTHER, that the Proper Officers be, and each of them hereby is,
authorized, directed, and empowered in the name of and on behalf of the Company or the Parent,
as applicable, to negotiate, execute and deliver from time to time any amendments,
modifications, extensions, supplements or renewals of the Restructuring Documents or the
Financing Documents and to cause the Company or the Parent, as applicable, to fully perform its

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obligations thereunder, all such amendments, modifications, extensions, supplements or renewals
to contain such terms, covenants and conditions as may be approved by the Proper Officer, in the
name of and on behalf of the Company or the Parent, as applicable, such Proper Officer’s
execution and delivery thereof on behalf of the Company or the Parent, as applicable, to be
conclusive evidence of such Proper Officer’s approval;

General Authority; Counterparts

RESOLVED FURTHER, that the Proper Officers be, and each of them hereby is,
authorized, directed and empowered to make, provide, execute, deliver and file any and all
statements, applications, certificates, representations, payments, notices, receipts and other
instruments, agreements and documents and take any other actions which, in the opinion of any
such Proper Officer, are or may be necessary or appropriate in connection with or to consummate
any of the matters authorized by the foregoing resolutions;

RESOLVED FURTHER, that any lawful act heretofore taken by any director of the
Company or the Parent or any Proper Officer in connection with the matters set forth in the
preceding resolutions be, and it hereby is, in all respects, approved, adopted, ratified and
confirmed as an act of the Company or the Parent, as applicable; and

RESOLVED FURTHER, that this Consent may be executed and delivered (including by
facsimile or Portable Document Format (pdf) transmission) in any number of counterparts with
the same effect as if all parties hereto had signed the same document and facsimile and other
electronic copies of manually-signed originals shall have the same effect as manually-signed
originals and shall be binding on all parties hereto.

[Signature Page Follows]
Case 15-11520-KG Doci1 Filed07/15/15 Page 11 of 24

IN WITNESS WHEREOF, the undersigned, being all of the members of the boards of
directors of Milagro Oil & Gas, Inc. and Milagro Holdings, LLC, hereby consent to the
foregoing resolutions as of the date first above written.

 

 

BOARDS:
CL, Bours
J6nathan Ginns
A og
Sp
Mo Bawa

 

Thomas J. Hauser

 

Adam Cohn

[SIGNATURE PAGE TO UNANIMOUS WRITTEN CONSENT OF THE BOARDS OF DIRECTORS OF
MILAGRO OI & GAS, INC. AND MILAGRO HOLDINGS, LLC]
Case 15-11520-KG Doci1 Filed07/15/15 Page 12 of 24

IN WITNESS WHEREOEF, the undersigned, being all of the members of the boards of
directors of Milagro Oil & Gas, Inc. and Milagro Holdings, LLC, hereby consent to the
foregoing resolutions as of the date first above written.

BOARDS:

 

Jonathan Ginns

 

Mo Bawa

     

Thomas J.

 

Adam Cohn

[SIGNATURE PAG TO UNANIMOUS WRITTEN CONSENT OF THE BOARDS OF DIRECTORS OF
MILAGRO On. & GAS, INC. AND MILAGRO HoLpings, LLC]
Case 15-11520-KG Doci1 Filed07/15/15 Page 13 of 24

IN WITNESS WHEREOF, the undersigned, being al) of the members of the boards of
directors of Milagro Oil & Gas, [nc. and Milagro Holdings, LLC, hereby consent to the
foregoing resolutions as of the date first above written.

BOARDS:

 

Jonathan Ginns

 

Mo Bawa

 

Thomas J. Hauser

Je QL

Adam Cohn

 

[SIGNATURE PAGE TO UNANIMOUS WRITTEN CONSENT OF THE BOARDS OF DIRECTORS OF
MELAGRO OIL & GAS, INC. AND MILAGRO HOLDINGS, LLC]
 

Case 15-11520-KG Doci1 Filed07/15/15 Page 14 of 24

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
In re : Chapter 11
MILAGRO HOLDINGS, LLC, et al., Case No. 15- (Cs)
Debtors.’ ; Joint Administration Requested
x

 

CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
AND LIST OF EQUITY INTEREST HOLDERS PURSUANT TO
BANKRUPTCY RULES 1007(a)(), 1007(a)(3) AND 7007.1

Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of
Bankruptcy Procedure, Milagro Oil & Gas, Inc., a Delaware corporation, its parent, and its direct
and indirect subsidiaries, who are each debtors and debtors in possession in the above-captioned
cases (each a “Debtor”), hereby state as follows:

1. The direct equity interest holders of Milagro Holdings, LLC (“Holdings”),
their addresses, and the nature of their equity interests” are as follows:

 

 

Equity Holder Address Unit Holdings and
Percentage

ACON Milagro Investors, LLC c/o Acon Funds Managements LLC, 1133 12,500 Class A Units

ACON-Bastion Partners II, LP Connecticut Ave, NW, Ste 700, 0 Class B Units

ACON-Bastion Partners Offshore, | Washington, DC 20036 0 Class C Units

LP (44.024%)

ACON Milagro Second Lien
Investors, LLC
ABP II Milagro AIV, L.P.

 

 

 

 

FS Investments 280 Park Avenue, New York, New York 647.55 Class A Units
10017 573.45 Class B Units

0 Class C Units

(4.300%)

 

 

The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Milagro Holdings, LLC (7232); Milagro Oil & Gas, Inc. (7173); Milagro Exploration, LLC
(9260); Milagro Producing, LLC (9330); Milagro Mid-Continent, LLC (8804); and Milagro Resources,
LLC (6134). The Debtors’ mailing address is 1301 McKinney Street, Suite 500, Houston, Texas 77010.

Holdings has three classes of membership interests outstanding: Class A, Class B, and Class C. Class C
consist of non-voting profit interests issued to Holdings’ management team.
Case 15-11520-KG Doci1 Filed07/15/15 Page 15 of 24

 

Equity Holder

Address

Unit Holdings and
Percentage

 

Milagro Exploration Founders’
Group, LP

1301 Mckinney Ste 500, Houston, Texas
77010

848.56 Class A Units
751.44 Class B Units
0 Class C Units
(5.635%)

 

Milagro Exploration Founders’
Group IT, LP

1301 McKinney Ste 500, Houston, Texas
77010

303.36 Class A Units
268.64 Class B Units
0 Class C Units
(2.015%)

 

Milagro Investors, LLC

330 Madison Ave, 10th Floor, New York,
NY 10017

8,500 Class A Units
0 Class B Units

0 Class C Units
(29.936%)

 

Robert L. Cavnar

1301 McKinney Ste 500, Houston, Texas
77010

0.53 Class A Units
0.47 Class B Units
0 Class C Units
(0.004%)

 

West Coast Milagro Partners, LLC

1250 Fourth Street, Santa Monica,
California 90401

4,000 Class A Units
0 Class B Units

0 Class C Units
(14.087%)

 

 

Milagro Management Pool I, LP

 

1301 McKinney Ste 500, Houston, Texas
77010

 

0 Class A Units
0 Class B Units
6 Class C Units

(0.021%)

 

2. The direct equity interest holders of Milagro Oil & Gas, Inc. (“MOG”),

their addresses, and the nature of their equity interests are as follows:

 

Equity Holder

Address

Number and Percentage

 

Common Stock

 

Milagro Holdings, LLC

1301 McKinney Ste 500, Houston, Texas
77010

280,400 (100%)

 

Series A Preferred Stock

 

1888 Fund, Ltd

c/o Guggenheim Investment Mgmt LLC,
135 East 57th St, 6th Floor, New York, NY
10022

44,169 (1.636%)

 

Acon Milagro Second Lien
Investors, LLC

c/o Acon Funds Investment LLC, 1133
Connecticut Ave NW Ste 700, Washington,
DC 20036

917,178 (33.970%)

 

AIG PEP IV Co-Investment, LP

c/o PineBridge Investments, 277 Park Ave,
42nd Floor, New York, NY 10172

24,718 (0.915%)

 

AIG Vantage Capital, LP

c/o PineBridge Investments, 277 Park Ave,
42nd Floor, New York, NY 10172

156,251 (5.787%)

 

 

Copper River CLO Ltd

 

c/o Guggenheim Investment Mgmt LLC,
135 East 57th St, 6th Floor, New York, NY
10022

 

88,282 (3.270%)

 

 

 
Case 15-11520-KG Doci1 Filed07/15/15 Page 16 of 24

 

 

 

Equity Holder Address Number and Percentage
c/o Guggenheim Investment Mgmt LLC, 49,648 (1.839%)
135 East 57th St, 6th Floor, New York, NY

Green Lane CLO Ltd 10022
c/o Guggenheim Investment Mgmt LLC, 110,424 (4.090%)

Guggenheim Energy 135 East 57th St, 6th Floor, New York, NY

Opportunities Fund, LP

10022

 

Kennecott Funding Ltd

c/o Guggenheim Investment Mgmt LLC,
135 East 57th St, 6th Floor, New York, NY
10022

49,648 (1.839%)

 

NZC Guggenheim Master Fund
Limited

c/o Guggenheim Investment Mgmt LLC,
135 East 57th St, 6th Floor, New York, NY
10022

38,598 (1.430%)

 

FS Investment Corporation

c/o GSO Capital
280 Park Avenue, New York, New York
10017

283,947 (10.517%)

 

Sands Point Funding Ltd

c/o Guggenheim Investment Mgmt LLC,
135 East 57th St, 6th Floor, New York, NY
10022

82,768 (3.065%)

 

Touradji Diversified Holdings,
LLC

101 Park Ave, 48th Fioor, New York, NY
10178

12,281 (0.455%)

 

Touradji Diversified Holdings, Ltd

101 Park Ave, 48th Floor, New York, NY
10178

58,706 (2.174%)

 

Touradji Global Resources
Holdings, LLC

101 Park Ave, 48th Floor, New York, NY
10178

64,953 (2.406%)

 

Touradji Global Resources
Holdings, Ltd

101 Park Ave, 48th Floor, New York, NY
10178

289,981 (10.740%)

 

1250 Fourth Street, Santa Monica, CA

38,598 (1.430%)

 

 

 

 

 

Ralph Finerman 90401

1250 Fourth Street, 5" floor, Santa Monica, 323,745 (11.991%)
New Energy LLC CA 90401

1250 Fourth Street, Santa Monica, CA 66,105 (2.448%)
Jeffrey Green 90401

 

3. The subsidiaries listed below are 100% owned by Debtor MOG:

e Milagro Exploration, LLC
e Milagro Producing, LLC

4. The subsidiaries listed below are 100% owned by Debtor Milagro

Producing, LLC:

e Milagro Mid-Continent, LLC
e Milagro Resources, LLC

 
Case 15-11520-KG Doci1 Filed07/15/15 Page 17 of 24

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

x
In re Chapter 11
MILAGRO HOLDINGS, LLC, et al., Case No. 15- Cc)
Debtors.’ ; Joint Administration Requested
x

DECLARATION CONCERNING CONSOLIDATED CORPORATE OWNERSHIP
STATEMENT AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
TO BANKRUPTCY RULES 1007(a)(1), 1007(a)(3) AND 7007.1

I, Scott W. Winn, Chief Restructuring Officer of Milagro Holdings, LLC, one of
the above-captioned debtors and debtors in possession (collectively, the “Debtors”) in the above-
captioned chapter 11 cases, declare under penalty of perjury under the laws of the United States
of America that I have reviewed the foregoing Consolidated Corporate Ownership Statement
and List of Equity Interest Holders Pursuant to Bankruptcy Rules 1007(a)(1), 1007(a)(3) and
7007.1 submitted herewith and that the information contained therein is true and correct to the
best of my information and belief.

Dated: July 15, 2015 Al
Wilmington, Delaware i
ScottW . Winn

Chief Restructuring Officer of Milagro Oil & Gas, Inc.,
on behalf of the Debtors

 

 

The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Milagro Holdings, LLC (7232); Milagro Oil & Gas, Inc. (7173); Milagro Exploration, LLC
(9260); Milagro Producing, LLC (9330); Milagro Mid-Continent, LLC (8804); and Milagro Resources,
LLC (6134). The Debtors’ mailing address is 1301 McKinney Street, Suite 500, Houston, Texas 77010.
Case 15-11520-KG Doci1 Filed07/15/15 Page 18 of 24

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
MILAGRO HOLDINGS, LLC, et al, Case No. 15- ( )
Debtors.! (Joint Administration Requested)

 

DEBTORS’ LIST OF CREDITORS HOLDING THIRTY (30)
LARGEST UNSECURED CLAIMS ON A CONSOLIDATED BASIS

The above-captioned debtors and debtors in possession (collectively, the
“Debtors”) each filed a voluntary petition in the Court for relief under chapter 11 of title 11 of
the United States Code. This list of creditors holding the thirty (30) largest unsecured claims
(the “Top 30 List”) against the Debtors, on a consolidated basis, has been prepared from the
Debtors’ books and records as of July 14, 2015.

The Top 30 List was prepared in accordance with Rule 1007(d) of the Federal
Rules of Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases. The Top 30 List does
not include (1) persons who come within the definition of an “insider” set forth in 11 U.S.C.
§ 101(1) or (2) secured creditors, unless the value of the collateral is such that the unsecured
deficiency places the creditor among the holders of the thirty (30) largest unsecured claims, on a
consolidated basis.

The information presented in the Top 30 List shall not constitute an admission by,
nor is it binding on, the Debtors. The information presented herein, including, without
limitation, the Debtors’ failure to list any claim as contingent, unliquidated, disputed, or subject
to a setoff, does not constitute an admission by the Debtors nor does it constitute a waiver of the

Debtors’ rights to contest the validity, priority, nature, characterization, and/or amount of any
2
claim.

 

The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
are: Milagro Holdings, LLC (7232); Milagro Oil & Gas, Inc. (7173); Milagro Exploration, LLC (9260);
Milagro Producing, LLC (9330); Milagro Mid-Continent, LLC (8804); and Milagro Resources, LLC (6134).
The Debtors’ mailing address is 1301 McKinney Street, Suite 500, Houston, Texas 77010.

Certain claims listed herein may be subject to offset, discount, trade credit, or other deductions, which may not
be included in the amounts set forth herein. Failure to include such amount in this list shall not constitute a
waiver of such right.
Case 15-11520-KG Doci1 Filed07/15/15 Page 19 of 24

 

NAME OF

Rank) CREDITOR

‘Telephone number and complete mailing

address, including zip code, of employee,

agent, or department of creditor familiar
with claim who may be contacted

 

 

 

 

 

Nature of claim
(trade debt,
bank loan,
government
coutract, etc.)

Indicate if
claim is

contingent,

unliquidated,
disputed-or.
subject to

3
setoff

Amount of
claim

 

Wilmington Trust, as
Indentured Trustee

Wilmington Trust
Rodney Square North
1100 N. Market Street
Wilmington, DE 19890
Tel.: 302-651-1000
Fax: 302-651-8937

2016 10.50%
Notes

Unknown

 

Guerra Brothers
Successors Ltd.

Guerra Brothers Successors Ltd.
P.O. Box 38

Linn, TX 78563

-and-

36455 US Highway 281

Linn, TX 78563

Tel: 956-383-2602

Email: felogb@aol.com

Royalty Interest
and Litigation

Contingent,
Disputed,
Unliquidated

$3,324,530.89

 

Exterran Energy
Solutions LP

Exterran Energy Solutions LP
Exterran ABS 2007 LLC
Attn: Maria Camacho

P.O. Box 201160

Dallas, TX 75320-1160

-and-

16666 Northchase Drive
Houston, TX 77060

Tel.: 281-836-7000

Fax: 281-836-8395

Email: maria.camacho@exterran.com

Trade Debt

$155,754.48

 

Energy Gas
Compression Ltd.

Energy Gas Compression Ltd.
P.O. Box 928

Corpus Christi, TX 78403
-and-

2020 N. Lexington Blvd.
Corpus Christi, TX 78409-1335
Tel.: 361-289-0100

Fax: 361-289-0064
Email:rlong@bizstx.1.com

Trade Debt

$135,779.00

 

 

Axip Energy
Services, LP

 

 

Axip Energy Services, LP

P.O. Box 732170

Dallas, TX 75373-2170

~and-

919 Milam, Suite 850

Houston, TX 77002

Tel.: 866-956-863 |

Fax: 713-744-6101

Email: axipaccountsreceivable@axip.com

 

Trade Debt

 

 

$93,435.00

 

 

The Debtors reserve their rights to dispute the claims on this schedule on any basis and to assert rights to
setoff even if the claim is not listed as any of contingent, unliquidated, disputed or subject to setoff.

01:17359391.2

2

 
Case 15-11520-KG Doci1 Filed07/15/15 Page 20 of 24

 

Rank

NAME OF
CREDITOR

Telephone number. and. complete mailing

address, inchiding zip code, of employee,

agent, or department of creditor familiar
with claim who may be contacted

Nature of claim
(trade debt,
bank loan,
government
contract, etc:)

Indicate if
claim is
contingent,
unliquidated,
disputed or
subject to

3
setoff

Amount of
claim

 

Microsoft Licensing
GP

Microsoft Licensing GP

c/o Bank of America

Lockbox 842467

1950 N. Stemmons Fwy., Suite 5010
Dallas, TX 75207

Tel.: 877-309-0290

Fax: 425-708-7265

Email: mscredit@microsoft.com

Trade Debt

$90,512.10

 

Sparkman Industries,
Inc.

Sparkman Industries, Inc. dba Victoria Well
Service

169 Aviation Drive

Victoria, TX 77904

Tel.: 361-573-6658

Fax: 361-573-0009

Email: charly p@sparkmanindustries.com

Trade Debt

$83,651.60

 

Chevron North
America Exploration
& Production Co.

Chevron North America Exploration &
Production Co.

P.O. Box 730436

Dallas, TX 75373-0436

~and~-

1400 Smith St.

Houston, TX 77002

Tel.: 232-234-3600; 713-372-1671
Fax: 713-372-9052

Royalty Interest

Unliquidated

$58,421.06

 

Matagorda Oilfield
Specialty Inc.

Matagorda Oilfield Specialty Inc.
3586 FM 2668

Bay City, TX 77414

Tel.: 979-245-4683

Fax: 979-245-6522

Email: schneiderchris2@sbcglobal.net;
martinkeith2 @sbcglobal net

Trade Debt

$57,104.43

 

10.

Enerquest Oil & Gas

Enerquest Oil & Gas

12368 Market Drive

Oklahoma City, OK 73114

Tel.: 405-478-3300

Fax: 405-478-3686
suec@enerquestcorporation.com

Trade Debt

$45,437.42

 

 

11.

 

Gulf Coast Lease
Service, Inc.

 

Gulf Coast Lease Service, Inc.
P.O. Box 1541

El Campo, TX 77437

-and-

3588 West Business 59S Highway
El Campo, TX 77437

Tel.: 979-543-1453

Fax: 979-543-1533

Email: gulfcoastsh@yahoo.com

 

Trade Debt

 

 

$41,495.49

 

01:17359391.2

 
Case 15-11520-KG Doc1 Filed07/15/15 Page 21 of 24

 

Rank

NAME OF
CREDITOR

Telephone number and complete mailing

address, including zip code, of employee,

agent, or department of creditor. familiar
with claim who may be contacted

Nature of claim
(trade-debt,
bank loan,
government
contract, etc.)

Indicate if
claim is
contingent,
unliquidated,
disputed or
subject to

3
setoff

Amount of
claim

 

12.

Liberty Swabbing
Inc.

Liberty Swabbing Inc.

P.O. Box 3545

Victoria, TX 77903-3545

-and-

3401 Carsner St.

Victoria, TX 77901

Tel.: 361-578-9536

Fax: 361-575-7545

Email: libertyswabbing@yahoo.com

Trade Debt

$40,707.50

 

13.

Arkos Field Services
LP

Arkos Field Services LP

1010 Lamar Street, Suite 1700
Houston, TX 77002

Tel.: 832-783-5415

Email: emay@arkos.com

Trade Debt

$39,945.89

 

14.

ES&H Consulting
Services, Inc.

ES&H Consulting Services, Inc.
2802 Flintrock Trace, Suite B104
Lakeway, TX 78738

Tel.: 512-904-0401

Fax: 512-904-0403

Email: info@esandh.com

Trade Debt

$37,495.17

 

15.

W.E. Hayden Lease
Service Inc.

W.E. Hayden Lease Service Inc.
P.O. Box 290

Ganado, TX 77962

-and-

281 State Highway 172
Ganado, TX 77962

Tel.: 361-771-3684

Fax: 361-771-3647

Email: 2@webls.com

Trade Debt

$34,298.79

 

16.

KEM Energy
Management

KEM Energy Management
P.O. Box 60914

Houston, TX 77205

-and-

1812Uhit #B

Austin, TX 78702

Tel.: 832-405-9700

Email: rkoenig@yahoo.com

Royalty Interest

Unliquidated

$32,550.48

 

 

17.

 

DNOW L.P.

 

DNOW L.P. (fka Nov National Oilwell
Varco; Wilson Supply)

P.O. Box 200822

Dallas, TX 75320-0822

-and-

7402 N. Eldridge Pkwy.

Houston, TX 77041

Tel.: 281-823-4700

Fax: 713-237-3300
Email:-kori.mills@dnow.com

 

Trade Debt

 

 

$32,746.13

 

01:17359391.2

 
Case 15-11520-KG Doci1 Filed07/15/15 Page 22 of 24

 

Rank

NAME OF
CREDITOR

Telephone number.and complete mailing

address, including zip code, of employee,

agent, or department of creditor familiar
with claim. who may be contacted

Nature of claim
(trade debt,
bank Joan,
government
contract, etc.)

Indicate if
claim is
contingent,
unliquidated,
disputed or.
subject to

3
setoff

Amount of
claim

 

18.

Ted Collins, Jr.

Ted Collins, Jr.

508 W. Wall, Suite 1200
Midland, TX 79701

Tel.: 432-687-3435

Fax: 432-686-0302

Email: jerryg@collinsog.com

Royalty Interest

Unliquidated

$31,316.48

 

19.

Basic Energy
Services, LP

Basic Energy Services, LP

P.O. Box 841903

Dallas, TX 75284-1903

-and-

801 Cherry Street, Suite 2100

Fort Worth, TX 76102

Tel: 817-334-4100

Fax: 817-334-4101

Email: info@basicenergyservices.com

Trade Debt

$31,077.85

 

20.

Oates Oilfield
Construction Co.

Oates Oilfield Construction Co.
P.O. Box 868

Edinburg, TX 78540

~and-

6906 N. Expressway 281
Edinburg, TX 78542

Tel.: 956-383-2815

Fax: 956-383-0938

Email: amold1222@sbcglobal.net

Trade Debt

$29,635.52

 

21.

Rodgers Gauging
Services LLC

Rodgers Gauging Services LLC
1093 Hill Top Rd.

Beeville, TX 78102

Tel.: 361-362-9539

Fax: 361-375-2909

Email: ryan_rod 02@yahoo.com

Trade Debt

$28,250.00

 

22.

C&D Production
Specialist Co. Inc.

C&D Production Specialist Co. Inc.
P.O. Box 1489

Larose, LA 70373

-and-

4683 West Park Avenue

Houma, LA 70364

Tel.: 985-693-7322

Fax: 985-693-8156

Email: info@cdprod.net

Trade Debt

$27,737.96

 

 

23.

 

Legacy Well Service,
LLC

 

Legacy Well Service, LLC

4700 N.E. Thruway

Carencro, LA 70520

Tel.: 337-886-3232

Fax: 270-912-9720

Email: chris@Iws.la; glenn@Iws.la;
Jessica@I]ws.la; info@lws.la

 

Trade Debt

 

 

$22,203.63

 

01:17359391.2

 
Case 15-11520-KG Doci1 Filed07/15/15 Page 23 of 24

 

Rank

NAME OF
CREDITOR

Telephone number and complete mailing

address, including zip.code, of employee,

agent, or department of creditor familiar
with claim who may be contacted

Nature of claim
(trade debt,
bank loan,
government
contract, etc.)

Indicate if
claim is
contingent,
unliquidated,
disputed or
subject to

3
setoff

Amount of
claim

 

24,

Kline Trust

Kline Trust

c/o Alisa Kline

4208 Lillian

Houston, TX 77007

Tel.: 713-880-2458

Email: abkline@earthlink.net

Royalty Interest

Unliquidated

$20,348.60

 

25.

Johnson & Lindley,
Inc.

Johnson & Lindley, Inc.

dba XCO Production Company
c/o Johnson & Lindley, Inc.
P.O. Box 27727

Houston, TX 77227

Tel: 713-627-1101

Fax: 713-627-0161

Royalty Interest

Unliquidated

$19,828.84

 

26.

T. Baker Smith Inc.

T. Baker Smith Inc.

P.O. Box 2266

Houma, LA 70361

Tel.: 985-868-1050

Fax: 985-868-5843

Email: dawn.jones@tbsmith.com;
sarah.hulin@tbsmith.com;
cassie.daugherty@tbsmith.com

Trade Debt

$19,698.09

 

27.

X-Chem, LLC

X-Chem, LLC

P.O. Box 971433
Dallas, TX 75397-1433
~and-

2727 Chemsearch Blvd.
Irving, TX 75062

Tel.: 855-829-0001
Fax: 972-721-6700

Trade Debt

$18,951.93

 

28.

BKB Oilfield, Inc.

BKB Oilfield, Inc.

P.O. Box 147

Hobson, TX 78117

Tel.: 361-935-1019

Email: andy.p@bkboilfield.com

Trade Debt

$18,254.28

 

29.

Conoco Phillips
Company

Conoco Phillips Company
600 North Dairy Ashford
Houston, TX 77079

Tel.: 281-293-1000

Royalty Interest

Unliquidated

$18,139.04

 

 

30.

 

ASRM, LLC

 

ASRM, LLC dba RSL Specialty Products
Administration

505 South Lenola Rd. #231

Moorestown, NJ 08057

Tel.: 856-231-9100 -

Fax: 856-231-7995

Email: sales@asrmllc.com

 

Trade Debt

 

 

$17,443.54

 

01:17359391.2

 
Case 15-11520-KG Doci1 Filed07/15/15 Page 24 of 24

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
In re Chapter i1
MILAGRO HOLDINGS, LLC, ef al., Case No. 15- (+)
Debtors.’ Joint Administration Requested
x

 

CERTIFICATION CONCERNING DEBTORS’ CONSOLIDATED LIST
OF CREDITORS HOLDING 30 LARGEST UNSECURED CLAIMS

The debtors and debtors-in-possession in the above-captioned cases (collectively, the
“Debtors”) hereby certify under penalty of perjury that the Consolidated List of Creditors
Holding the 30 Largest Unsecured Claims (the “Consolidated List”), submitted herewith, is

complete and, to the best of the Debtors’ knowledge, correct and consistent with the Debtors’
books and records.

The information contained herein ts based upon a review of the Debtors’ books and
records. However, no comprehensive legal and/or factual investigations with regard to possible
defenses to any claims set forth in the Consolidated List have been completed. Therefore, the
listing does, and should not, be deemed to constitute: (1) a waiver to any defense to any listed
claim; (2) an acknowledgement of the allowability of any listed claim; and/or (3) waiver of any
other right or legal position of the Debtors.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: July 15, 2015 A Yili .
Wilmington, Delaware Ge. 7) e—_—

Scott WW Winn *
Chief Restructuring Officer of Milagro Oil & Gas, Inc.,
on behalf of the Debtors

 

The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Milagro Holdings, LLC (7232); Milagro Oil & Gas, Inc. (7173); Milagro Exploration, LLC
(92.60); Milagro Producing, LLC (9330); Milagro Mid-Continent, LLC (8804); and Milagro Resources,
LLC (6134). The Debtors’ mailing address is 1301 McKinney Street, Suite 500, Houston, Texas 77010.
